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                         Ex. 01
                     Susan Athey CV
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                                     SUSAN CARLETON ATHEY
Stanford University
Graduate School of Business
655 Knight Way Stanford, CA 94305


PERSONAL
Born November, 1970. U.S. Citizen.


EDUCATION
     Duke University
     Bachelor of Arts, 1991.
     Majors in economics, mathematics, and computer science.
     Magna Cum Laude. Phi Beta Kappa.

       Stanford Graduate School of Business
       Ph.D., 1995
       Dissertation: “Comparative Statics in Stochastic Problems with Applications.”
       Advisors: Paul Milgrom and John Roberts (co-chairs), Edward Lazear.

CURRENT POSITIONS
     Stanford University Graduate School of Business
             2014-present The Economics of Technology Professor
             2013-2014 Professor of Economics
     National Bureau of Economic Research
             2001-present Research Associate. Co-organizer of Productivity and Information
                     Technology/Digitization; Founding co-director of Market Design Working
                     Group, 2008-2014.

PAST POSITIONS

       Harvard University
               2006-2012 Professor of Economics
       Center for Advanced Study in the Behavioral Sciences
               2004-2005 Fellow
       Department of Economics, Stanford University
               2001-2004 Associate Professor of Economics
               2004-2006 Holbrook Working Professor of Economics and Professor (by courtesy) in the
               Graduate School of Business
       Department of Economics, Massachusetts Institute of Technology
               1999-2001 Castle Krob Career Development Associate Professor of Economics
               1997-1999 Castle Krob Career Development Assistant Professor of Economics




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              1995-1997 Assistant Professor of Economics
      Cowles Foundation for Economic Research, Yale University
              1997-1998 Visiting Assistant Professor of Economics
      Hoover Institution, Stanford University
              2000-2001 National Fellow
      National Bureau of Economic Research
              1997-2001 Faculty Research Fellow
OTHER POSITIONS

      2018-present     Founding Director, Golub Capital Social Impact Lab, Stanford
      2018-present     Founding Associate Director, Stanford Human Centered Artificial Intelligence
                         Institute
      Ongoing            Boards of Directors: Lending Club (2018-present), Expedia (2015- present),
                         Ripple (2014-present), Rover (2016-present), Turo (2019- present), Innovations
                         for Poverty Action (2019-present).
      2008-2018        Visiting/Consulting Researcher, Microsoft Research, New England
      2007-2016        Consultant to Microsoft Corporation.
      April,1999; October, 2000; February, 2001 Consultant, Research Department, Minneapolis
                         Federal Reserve Bank
      May, 1998        Visiting Professor, I.D.E.I. Toulouse.


CURRENT PROFESSIONAL ACTIVITIES

    Co-organizer of Productivity and Information Technology/Digitization, National Bureau of
     Economics Research, 2009-present.
    Member, Governor’s Council of Economic Advisors, 2020-present.

PAST PROFESSIONAL ACTIVITIES

    Member, Federal Economics and Statistics Advisory Committee, 2016-2018.
    Vice President, American Economics Association, 2017-2018.
    Advisory Board, Toulouse School of Economics, 2010-15.
    Member, National Academies Board on Science, Technology and Economic Policy
    Innovation Policy Form, 2013-2015.
    Member, President’s Committee for the National Medal of Science (Presidential Appointment, two
     consecutive terms), 2011-2016.
    Member, National Academies Committee on Science, Engineering, and Public Policy, 2013-2016.


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    Member, Nominating Committee for American Academy of Arts and Sciences, 2011-2012.
    Honors and Awards Committee, American Economics Association, 2013-2016.
    Membership Committee, National Academy of Science, 2013-2016.
    NBER, Founding co-director of Market Design Working Group, 2008-2014.
    Cambridge Economics Economics and Computational Day, co-founder, 2011.
    Council, Game Theory Society, 2009-2012. (elected position).
    Associate Editor, Theoretical Economics, 2005-2011.
    Council, Econometric Society, 2007-2010. (elected position)
    Executive Committee, American Economic Association, 2008-2010. (elected position)
    Advisory Committee on Editorial Appointments, American Economics Association, 2011.
    Co-Editor, American Economic Journals: Microeconomics, 2007-2008.
    Associate Editor, Econometrica, 2006-2007.
    Associate Editor, Quarterly Journal of Economics, 2001-2007.
    Editorial Board, Not a Journal Economics, 2001-2008.
    Fellows Nominating Committee, Econometric Society, 2006.
    Elaine Bennett Research Prize Committee (AEA/CSWEP), 2002, 2004, 2006 (Chair).
    Chair, Program Committee, Winter Meetings of the Econometric Society, 2006.
    National Science Foundation Economics Panel, 2004-2006.
    Co-director, Market Design Program, Stanford Institute for Economic Policy Research, 2004-2006.
    Mentor, CeMent Mentoring Workshop, AEA/CSWEP, 2006.
    Young Faculty Nominating Committee, Center for Advanced Study in the Behavioral Sciences.
    Associate Editor, American Economic Review, 2002-2005.
    Associate Editor, RAND Journal of Economics, 2002-2004.
    Foreign Editor, Review of Economic Studies, 2001-2004.
    American Economic Association Nominating Committee, 2003.
    Stanford University Fellow, 2002-2004.
    Co-editor, Journal of Economics and Management Strategy, 1997-2001.
    Program Committee, Summer Meetings of the Econometric Society, 1997 and 1998; 8th World
     Congress of the Econometric Society, 2000; Winter Meetings of the Econometric Society, 2001 and
     2005.

HONORS

    Adam Smith Award, National Association of Business Economists, 2020


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    CME Group-Mathematical Sciences Research Institute Prize in Innovative Quantitative
     Applications, 2020
    Von Neumann Prize, Rajk László College for Advanced Studies, 2019
    Fellow, International Association of Applied Econometrics, elected 2019
    Fellow, Game Theory Society, elected 2017.
    Jean-Jacques Laffont Prize, 2016
    Corresponding Fellow, British Academy, elected 2016.
    Knight Fellows Favorite Professor Award, Stanford University, 2014.
    2013 Best Paper Award, American Economic Journal: Microeconomics.
    Fellow, Society for the Advancement of Economic Theory, 2013.
    Member, National Academy of Science, elected 2012.
    Honorary doctorate, Duke University, 2009.
    Fellow, American Academy of Arts and Sciences, elected 2008.
    John Bates Clark Medal, 2007.
    Fellow, Econometric Society, elected 2004.
    Guggenhime Faculty Scholar, Stanford University, 2004-2006.
    Elaine Bennett Research Award, 2001.
    Sloan Foundation Research Fellow, 2000.
    Undergraduate Economics Association Teaching Award, 1995-1996.
    Review of Economic Studies Tour, 1995.
    Stanford University Lieberman Fellow, 1994-1995.
    State Farm Dissertation Award in Business, 1994.
    National Science Foundation Graduate Fellowship, 1991-1994.
    Jaedicke Scholar, Stanford Graduate School of Business, 1992-1993.
    Mary Love Collins Scholarship, Chi Omega Foundation, 1991-1992.
    Duke University Alice Baldwin Memorial Scholarship, 1990-1991.

DISTINGUISHED LECTURES

    Rosenthal Memorial Lecture, Boston University, 2020
    Invited speaker, American Association of Artificial Intelligence, 2020
    Ely Lecture, Johns Hopkins University, 2020
    T.W. Schultz Memorial Lecture, Agricultural and Applied Economics Association, 2020
    Invited keynote, INFORMS, 2019


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   Jean Monnet Lecture, European Central Bank, 2019
   The Korean American Economics Association-Maekyung Forum Lecture, 2019
   Steine Lecture, Vanderbilt University, 2018
   BMO Lecture, Simon Fraser University, 2018
   Marshall Lecture, European Economics Association, 2018
   Keynote, North American Summer Meetings of the Econometric Society, 2018
   Nancy Schwarz Lecture, Kellogg, Northwestern University, 2018
   William Comanor '59 Lectureship in Economics, Haverford College, 2018
   Munich Lectures, 2017
   Distinguished Visiting Lecturer, Boston University, 2016
   Keynote, MIT Conference on Digital Experimentation, 2014, 2015, 2016, 2017, 2018, 2019
   Keynote, EARIE, 2016
   Keynote, European Conference on Machine Learning/European Knowledge, Discovery, and Data
    Mining Conference (ECML/EKDD), 2016
   Keynote, International Conference on Machine Learning (ICML), 2016
   Distinguished Lecturer, Department of Economics, Columbia, 2016
   Distinguished Lecture Series, Carnegie Mellon, 2016
   Manchot Lecture, Bonn, 2016
   WZB Distinguished Lecture in Social Sciences, 2016
   Keynote, Knowledge Discovery and Data Mining (KDD), Sydney, 2015
   Henry George Lecture, University of Scranton, 2015
   Milliman Lecture, University of Washington, 2015
   George Staller Lecture, Cornell, 2015
   Fathauer Lecture, University of Arizona, 2015
   The GSB Salon, Stanford-Beijing Lecture, 2015
   Woytinksy Lecture, University of Michigan, 2014.
   Leigh Lecture, Washington State University, 2014.
   Central Planning Bureau Lecture, Netherlands, 2014.
   Keynote, DIMACS Workshop on Economic Aspects of Information Sharing, 2013.
   Association Lecture, Southern Economics Association, 2013.
   Keynote, Searle Antitrust Conference, 2012.
   Sir Richard Stone Annual Lecture, Cambridge University, 2012.



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    Dunaway Lecture, Michigan State University, 2012.
    Keynote, 2011 MIT Center for Digital Business Annual Conference
    Keynote address, 2011 Southern California Symposium on Network Economics and Game Theory.
    Keynote address, International Joint Conferences on Artificial Intelligence, Barcelona, July 2011.
    Fisher Schultz Lecture, Econometric Society, 2011.
    Plenary Lecture for Society of Economic Dynamics, 2010.
    Plenary Lecture for joint meeting of Electronic Commerce and Theoretical Aspects of Rationality
     and Knowledge, 2009.
    Society of Economic Design Plenary Lecture, 2008.
    Frank Hahn Lecture, Royal Economic Society Conference, 2008.
    John F. Nash, Jr., Lecture, Carroll Round, Georgetown, 2008.
    Schultz Lecture, University of Chicago, 2007.
    Toulouse Lectures in Economics, 2007.
    Invited Speaker, 9th World Congress of the Econometric Society.
    Johnson Distinguished Lecturer in Economics, Duke University, 2004.


GRANTS AND RESEARCH AWARDS

    Human-Centered Artificial Intelligence seed grant, “Artificial Intelligence for Scientific Discovery”
    Sloan Foundation Research Grant, 2017.
    “The Impact of Digitization on Labor Markets, Product Quality, and Information,” Cyber Initiative
     Grant, Stanford University, 2017.
    “Causal Inference,” DARPA/ONR Grant N00014-17-1-2131, 2016.
    “How Intermediaries Affect User Choice in News and Commerce,” Cyber Initiative Grant, Stanford
     University, 2016.
    “Private Information and Dynamic Games,” NSF Grant No. SES-0351500.
    “Private Information in Auctions, Pricing Games, and Ongoing Relationships,” NSF CAREER
     Award No. SES-9983820.
    “Bidding Behavior in U.S. Forest Service Timber Auctions,” MIT Provost's Fund for Humanities,
     Arts, and Social Sciences Research Award, 1997.
    “Empirical Tests for Complementarities: A Structural Approach,” MIT Sloan School of
     Management, Creative Research Award, 1996 (with Scott Stern).




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     “Comparative Statics: Theory and an Empirical Framework for Testing Predictions,” NSF Grant
      No. SBR-9631760.
     “Product and Process Innovation,” William Miller Fund, Stanford GS

ARTICLES

 1. “Policy Learning with Observational Data,” with Stefan Wager, forthcoming, Econometrica.
      https://arxiv.org/abs/1702.02896 (formerly titled “Efficient Policy Learning”).

 2. “Peaches, Lemons, and Cookies: Designing Auction Markets with Dispersed Information.”
      With Ittai Abraham, Moshe Babaioff, Michael Grubb. Forthcoming, Games and Economic
      Behavior.

 3. “Local Linear Forests,” (with Rina Friedberg, Julie Tibshirani, and Stefan Wager).
      Forthcoming, Journal of Computational and Graphical Statistics. arXiv preprint
      https://arXiv.org/abs/1807.11408

 4. “policytree: Policy learning via doubly robust empirical welfare maximization over trees” (with Erik
    Sverdrup, Ayush Kanodia, Zhengyuan Zhou, Susan Athey, and Stefan Wager), Journal of Open Source
    Software, 5(50), 2020.
 5. “Design-based Analysis in Difference-In-Differences Settings with Staggered Adoption,” (with
      Guido Imbens), https://arxiv.org/abs/1808.05293 2018. Forthcoming, Journal of Econometrics.

 6. “Preventing cytokine storm syndrome in COVID-19 using α-1 adrenergic receptor antagonists,”
      with Konig, M. F., Powell, M. A., Staedtke, V., Bai, R. Y., Thomas, D. L., Fischer, N. M., ... &
      Mensh, B. The Journal of Clinical Investigation. https://www.jci.org/articles/view/139642

 7.   “Sampling-based vs. Design-based Uncertainty in Regression Analysis” (with Alberto Abadie,
      Guido       Imbens,   and     Jeffrey    Wooldridge),     Econometrica,    88(1),      2020,    265-296.
      https://arxiv.org/abs/1706.01778

 8. “The Allocation of Decision Authority to Human and Artificial Intelligence,” (with Kevin A. Bryan
      and Joshua S. Gans), forthcoming, AEA Papers and Proceedings, 2020.

 9. “Stable Prediction with Model Misspecification and Agnostic Distribution Shift” (with Kun Kuang,
      Ruoxuan Xiong, Peng Cui, and Bo Li), Association for the Advancement of Artificial Intelligence (AAAI),
      2020.

 10. “Estimating Treatment Effects with Causal Forests: An Application” (with Stefan Wager), 2019.
      Observational Studies. https://arxiv.org/abs/1902.07409




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11. “Ensemble Methods for Causal Effects in Panel Data Settings” (with Mohsen Bayati, Guido
    Imbens, and Zhaonan Qu), American Economic Review Papers and Proceedings, May, 2019.
    https://arxiv.org/abs/1903.10079

12. “SHOPPER: A Probabilistic Model of Consumer Choice with Substitutes and
    Complements,” (with Francisco Ruiz and David Blei), Annals of Applied Statistics,
    forthcoming. Selected for inclusion as one of the best papers accepted in 2019 for “Annals
    of Applied Statistics Lecture” at Joint Statistical Meetings, 2020.
    https://arxiv.org/abs/1711.03560

13. “Balanced Linear Contextual Bandits,” with Maria Dimakopoulou, Zhengyuan Zhou, and
    Guido Imbens, Association for the Advancement of Artificial Intelligence (AAAI), 2019.

14. “Generalized Random Forests,” Annals of Statistics, with Julie Tibshirani and Stefan Wager, 47
    (2), 1148-1178, 2019. http://arxiv.org/abs/1610.01271

15. “Estimation and Inference of Heterogeneous Treatment Eﬀects using Random Forests” (with
    Stefan Wager), http://arxiv.org/abs/1510.04342 Journal of the American Statistical Association, 113
    (523), 1228-1242, 2018.

16. “Learning in Games with Lossy Feedback,” (with Zhengyuan Zhou, Panayotis Mertikopoulos,
    Nicholas Bambos, Peter Glynn and Yinyu Ye), Neural Information Processing Systems (NeurIPS), 2018.

17. “Stable Prediction across Unknown Environments,” (with Kun Kuang, Ruoxuan Xiong, Peng Cui,
    and Bo Li), Knowledge Discovery and Data Mining (KDD), 2018.

18. “Estimating Heterogeneous Consumer Preferences for Restaurants and Travel Time Using
    Mobile Location Data,” (with David Blei, Robert Donnelly, Francisco Ruiz, and Tobias
    Schmidt), American Economic Review Papers and Proceedings, May, 2018.
    https://arxiv.org/abs/1801.07826

19. “Efficient Inference of Average Treatment Effects in High Dimensions via Approximate Residual
    Balancing” (with Guido Imbens and Stefan Wager), Journal of the Royal Statistical Society-Series B,
    80(4), 2018, 597-623. http://arxiv.org/abs/1604.07125

20. “Exact P-values for Network Interference” (with Dean Eckles and Guido Imbens). Journal of the
    American Statistical Association, 113.521 (2018): 230-240.

21. “Context Selection for Embedding Models,” (with Liping Liu, Francisco Ruiz, and David Blei),
    Neural Information Processing Systems (NeurIPS), 4819-4827, 2017. http://papers.nips.cc/paper/7067‐
    context‐selection‐for‐embedding‐models.pdf



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22. “Structured Embedding Models for Grouped Data,” with Maja Rudolph, Francisco Ruiz, and
    David Blei, Neural Information Processing Systems (NeurIPS), 250-260, 2017.
    https://arxiv.org/abs/1709.10367

23. “Beyond Prediction: Using Big Data for Policy Problems,” Science, February 3, 2017.

24. “Estimating Average Treatment Effects: Supplementary Analyses and Remaining Challenges,”
    (with Guido Imbens, Thai Pham, and Stefan Wager), American Economic Review Papers and
    Proceedings, May 2017.

25. “The Impact of Consumer Multi-homing on Advertising Markets and Media Competition” (with
    Emilio Calvano and Joshua Gans). Management Science, 64(4), 2017, 1574-1590.

26. “Recursive Partitioning for Heterogeneous Causal Effects” (with Guido Imbens), Proceedings of the
    National Academy of Science 2016 113 (27) 7353-7360.

27. “A Measure of Robustness to Misspecification” (with Guido Imbens), American Economic Review
    Papers and Proceedings, May 2015, 105 (5), 476-480.

28. “Dynamics of Open Source Movements,” (with Glenn Ellison), Journal of Economics and
    Management Strategy, 2014, 23 (2), 294-316.

29. “An Efficient Dynamic Mechanism,” (with Ilya Segal), Econometrica, 2013, 81 (6), 2463-2485.

30. “Subsidies and Set-Asides in Auctions,” (with Jonathan Levin and Dominic Coey). American
    Economic Journal: Microeconomics, 2013, 5 (1), 1-27. Winner: 2013 Best Paper Award, American
    Economic Journal: Microeconomics.

31. “Position Auctions with Consumer Search,” (with Glenn Ellison). Quarterly Journal of Economics,
    2011, 126(3), 1213-1270.

32. “Comparing Open and Sealed Bid Auctions: Theory and Evidence from Timber Auctions,” (with
    Jonathan Levin and Enrique Seira). Quarterly Journal of Economics, 2011, 126(1), 207-257.

33. “The Impact of Targeting Technology on Advertising Markets and Media Competition,” with
    Joshua Gans, American Economic Review Papers and Proceedings, May 2010.34. “Skewed Bidding in Pay
    Per Action Models of Online Advertising,” with Nikhil Agarwal and David Yang. American
    Economic Review Papers and Proceedings, May 2009.

35. “Collusion with Persistent Cost Shocks,” (with Kyle Bagwell). Econometrica, May 2008, 76 (3), 493-
    540.

36. “Designing Efficient Mechanisms for Dynamic Bilateral Trading Games,” (with Ilya Segal),
    American Economic Review Papers and Proceedings, May 2008.


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37. “Efficiency in Repeated Trade with Hidden Valuations,” (with David Miller). Theoretical Economics,
    2007, 2 (3), 299-354.

38. “Discrete Choice Models with Multiple Unobserved Choice Characteristics,” (with Guido
    Imbens). International Economic Review, 2007, 48 (4), 1159-1192.

39. “What Does Performance in Graduate School Predict? Graduate Economics Education and
    Student Outcomes” (with Larry Katz, Alan Krueger, James Poterba, and Steve Levitt), American
    Economic Review, May 2007.

40. “Identification and Inference in Nonlinear Difference-In-Difference Models,” (with Guido
    Imbens). Econometrica 74 (2), March, 2006, 431-498.

41. “The Optimal Degree of Monetary Policy Discretion,” (with Andrew Atkeson and Patrick

    Kehoe), Econometrica 73 (5), September, 2005, 1431-1476.

42. “Collusion and Price Rigidity,” (with Kyle Bagwell and Chris Sanchirico). Review of Economic Studies
    71 (2), April 2004, 317-349.

43. “Identification in Standard Auction Models,” (with Philip Haile), Econometrica, 70 (6), November
    2002, pp. 2107-2140.

44. “The Impact of Information Technology on Emergency Health Care Outcomes,” (with Scott
    Stern), RAND Journal of Economics, 33 (3), Autumn 2002, pp. 399-432.

45. “Monotone Comparative Statics Under Uncertainty,” Quarterly Journal of Economics, February 2002,
    CXVII (1): 187-223.

46. “Optimal Collusion with Private Information,” (with Kyle Bagwell), RAND Journal of Economics,
    Autumn 2001, 32 (3): 428-465.

47. “Single Crossing Properties and the Existence of Pure Strategy Equilibria in Games of Incomplete
    Information,” Econometrica 69 (4), July, 2001: 861-890.

48. “Organizational Design: Decision Rights and Incentive Contracts,” (with John Roberts), American
    Economic Review, May 2001.

49. “Information and Competition in U.S. Forest Service Timber Auctions,” (with Jonathan Levin),
    Journal of Political Economy, 109 (2), April 2001. Reprinted in: Empirical Industrial Organization,
    Paul Joskow and Michael Waterson, ed., Critical Ideas in Economics, Edward Elgar, forthcoming
    2004.




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  50. “Investment and Market Dominance,” (with Armin Schmutzler), RAND Journal of Economics 32
      (1), Spring 2001: 1-26.

  51. “Mentoring and Diversity,” (with Chris Avery and Peter Zemsky), American Economic Review 90 (4)
      September 2000: 765-786.

  52. “Information Technology and Training in Emergency Call Centers.” (with Scott Stern). Proceedings
      of the Fifty-First Annual Meetings (New York, Jan 3-5, 1999). Madison, WI: Industrial Relations
      Research Association, pp. 53-60.

  53. “Product and Process Flexibility in an Innovative Environment,” (with Armin Schmutzler),
      RAND Journal of Economics, 26 (4) Winter1995: 557-574.

BOOKS/SURVEYS/COMMENTS/CONFERENCE VOLUMES

  1. “Generic Drug Repurposing for COVID-19 and Beyond,” (with Rena Conti, Richard Frank, and
      Jonathan Gruber), policy paper, Boston University.
      http://www.bu.edu/ihsip/2020/07/17/generic-drug-repurposing-for-covid-19-and-beyond/

  2. “Computational social science: Obstacles and opportunities.” Lazer, David MJ, Alex Pentland,
      Duncan J. Watts, Sinan Aral, Susan Athey, Noshir Contractor, Deen Freelon et al. Science 369,
      no. 6507 (2020): 1060-1062.

  3. “Comment on: "Blessing of Multiple Causes'' by Yixin Wang and David M. Blei,” with Guido
      Imbens and Michael Pollman, forthcoming, Journal of the American Statistical Association.

  4. “Machine Learning Methods Economists Should Know About,” with Guido Imbens, Annual
      Reviews, August, 2019 https://arxiv.org/abs/1903.10075

  5. “Economists (and Economics) in Tech Firms,” with Michael Luca, Journal of Economic
      Perspectives, 2018. https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3247794

  6. “The Impact of Machine Learning on Economics,” The Economics of Artificial Intelligence,
      NBER volume.

  7. “Yuliy Sannikov: Winner of the 2016 John Bates Clark Medal,” with Andrzej Skrzypacz, Journal
      of Economic Perspectives, 2017.

  8. “The State of Applied Econometrics - Causality and Policy Evaluation,” with Guido Imbens,
      Journal of Economic Perspectives, 2017. http://arxiv.org/abs/1607.00699

  9. “The Econometrics of Randomized Experiments,” with Guido Imbens, Handbook of
      Development Economics. http://arxiv.org/abs/1607.00698




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 10. “Machine Learning and Causal Inference for Policy Evaluation,” KDD '15 Proceedings of the
     21th ACM SIGKDD International Conference on Knowledge Discovery and Data Mining, Pages
     5-6.

 11. “The Nature and Incidence of Software Piracy: Evidence from Windows” (with Scott

 Stern), The Economics of Digitization, University of Chicago Press.

 12. “Empirical Models of Auctions,” in Advances in Economics and Econometrics: Theory and
     Applications, Ninth World Congress, Volume II. Richard Blundell, Whitney K. Newey, Torsten
     Persson, eds., Cambridge University Press, 2007.

 13. “Nonparametric Approaches to Auctions,” Handbook of Econometrics, Volume 6.

 14. Robust Comparative Statics (with Paul Milgrom and John Roberts), research monograph (draft
     form).

 15. “Adoption and Impact of Advanced Technologies in Emergency Response Systems,” (with Scott
     Stern), in The Changing Hospital Industry: Comparing Not-for-Profit and For-Profit Institutions,
     David Cutler, ed. University of Chicago Press, 2000, pp. 113-155.



WORKING PAPERS/UNDER REVIEW

 1. “Survey Bandits with Regret Guarantees,” (with Sanath Kumar Krishnamurthy), preprint
     arXiv:2002.09814 (2020).

 2. “A retrospective clinical study supporting the rationale for trials of Alpha-1 Adrenoreceptor
     Antagonists to prevent cytokine storm and severe COVID-19,” (withVogelstein, J. T., Powell, M.,
     Koenecke, A., Xiong, R., Konig, M. F., Fischer, N., ... & Vogelstein, B.), 2020, arXiv preprint
     arXiv:2004.10117.

 3. “Service Quality in the Gig Economy: Empirical Evidence about Driving Quality at Uber” (with
     Juan Camilo Castillo and Bharat Chandar), 2019,
     https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3499781

 4. “Optimal Experimental Design for Staggered Rollouts” (with Ruoxuan Xiong, Mohsen Bayati,
     Guido Imbens), 2019, arXiv:1911.03764

 5. “Confidence Intervals for Policy Evaluation in Adaptive Experiments,” (with Vitor Hadad, David
     A. Hirshberg, Ruohan Zhan, Stefan Wager), 2019, http://arXiv.org/abs/1911.02768.




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6. “Using Wasserstein Generative Adversarial Networks for the Design of Monte Carlo Simulations”
    (with Guido Imbens, Jonas Metzger, Evan Munro), http://arXiv.org/abs/1909.02210.

7. “Sufficient Representations for Categorical Variables (with Jonathan Johannemann, Vitor Hadad,
    Stefan Wager), 2019. https://arxiv.org/abs/1908.09874

8. “Synthetic Difference in Differences” (with David A. Hirshberg, Guido W. Imbens, and Stefan
    Wager), 2019. https://arxiv.org/abs/1812.09970

9. “Counterfactual Inference for Consumer Choice Across Many Product Categories” (with Robert
    Donnelly, Francisco R. Ruiz, and David Blei), 2019. https://arxiv.org/abs/1906.02635

10. “Experienced Segregation,” (with Billy Ferguson, Matthew Gentzkow, and Tobias Schmidt), 2019.
    http://web.stanford.edu/~gentzkow/research/experienced‐segregation.pdf.

11. “Offline Multi-Action Policy Learning: Generalization and Optimization,” (with Zhengyuan
    Zhou and Stefan Wager), https://arxiv.org/abs/1810.04778. Selected as finalist for George
    Nicholson student paper competition at Informs, 2018.

12. “Matrix Completion Methods for Causal Panel Data Models,” (with Mohsen Bayati, Guido
    Imbens, Nikolay Doudchenko, Guido Imbens, Khashayar Khosravi), 2017.
    https://arxiv.org/abs/1710.10251

13. “Estimation Considerations in Contextual Bandits,” with Maria Dimakopoulou, Zhengyuan Zhou,
    and Guido Imbens, 2017. https://arxiv.org/abs/1711.07077

14. “When Should You Adjust Standard Errors for Clustering?” with Alberto Abadie, Guido Imbens,
    and Jeffrey Wooldridge, 2017. https://arxiv.org/abs/1710.02926

15. “The Digital Privacy Paradox: Small Money, Small Costs, Small Talk,” with Christian Catalini and
    Catherine Tucker, Working Paper, MIT, 2017.

16. “Model Criticism for Bayesian Causal Inference,” with David Blei, Francisco Ruiz, and Dustin
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17. “The Impact of Aggregators on Internet News Consumption,” with Markus Mobius and Jeno Pal,
    2016.

18. “Bitcoin Pricing, Adoption, and Usage: Theory and Evidence,” with Ivo Parashkevov, Vishnu
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 19. “Estimating Treatment Effects using Multiple Surrogates: The Role of the Surrogate Score and
     the Surrogate Index” (with Raj Chetty, Guido Imbens and Hyunseung Kang), 2016
     http://arxiv.org/abs/1603.09326

 20. “A Structural Model of Sponsored Search Advertising Markets” (with Denis Nekipelov). Working
     paper, 2012. Under review.

 21. “The Impact of News Aggregators on Internet News Consumption: The Case of Localization”
     (with Markus Mobius). Working paper, 2012.

 22. “Exchange Rate Fluctuations, Consumer Demand, and Advertising: the Case of Internet Search”
     (with Maya Cohen Meidan). Working paper, 2011.

 23. “A Theory of Group Formation and Social Hierarchy,” (with Saumitra Jha and Emilio Calvano).
     Working Paper, 2010.

 24. “Characterizing Properties of Stochastic Objective Functions,” MIT Working Paper 96-1R. Revise
     & Resubmit, B.E. Journals in Theoretical Economics.

 25. “Investment and Information Value for a Risk-Averse Firm,” MIT Working Paper No. 00-30.
     Revise & Resubmit, B.E. Journals in Theoretical Economics.

 26. “The Value of Information in Monotone Decision Problems,” (with Jonathan Levin), MIT
     Working Paper No. 98-24, November 1998.

 27. “An Empirical Framework for Testing Theories about Complementarities in Organizational
     Design,” (with Scott Stern). NBER Working Paper 6600, February 1998. Revise & Resubmit,
     Management Science.

 28. “The Allocation of Decisions in Organizations,” (with Joshua Gans and Scott Stern), Mimeo,
     MIT, 1996.


TEACHING

    MBA: Data-Driven Impact, Technology for Social Impact, Marketplaces, Economics of Internet
     Search, Platform Competition in Digital Markets, Financial Technology, Advertising and
     Monetization, Cryptocurrency
    Graduate: Machine Learning and Causal Inference, Economics of Information Technology, Market
     Design, Advanced Topics in Game Theory, Industrial Organization, Contract Theory,
     Microeconomic Theory.
    Undergraduate: Market Design, Industrial Organization, Intermediate Applied Microeconomics.


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NON-ACADEMIC HONORS

    Microsoft Research Distinguished Collaborator Award, 2016
    World Innovation Summit on Entrepreneurship and Innovation’s World’s Most Innovative People
     Award, 2012.
    World Economic Forum Young Global Leader, selected 2008.
    Fast Company's 100 Most Creative People in Business
    Diversity MBA's Top 100 under 50 Diverse Executives
    Kilby Award Foundation's Young Innovator Award, 1998.

EXPERT WITNESS TESTIMONY

    FTC v. 1-800-Contacts, Inc. (2017)
    U.S. v. AT&T Inc., DirecTV Group Holdings, LLC, and Time Warner Inc. (2018)
    The Coca-Cola Company & Subs. v. Commissioner of Internal Revenue (2018)




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